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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION


                                     CASE NO. 9:21-cv-81750-DMM
                                     BANKRUPTCY CASE NO. 20-17930-EPK
                                     BANKRUPTCY ADV. NO. 20-01384-EPK
   GEORGE D. DAVIS,

        Debtor.
   ____________________________/

   SAFS, INC.,

   Appellant,

   v.

   GEORGE D. DAVIS,

   Appellee.
   ________________________________/

                         APPELLEE’S RESPONSE BRIEF




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                            STATEMENT OF JURISDICTION

        Appellee agrees with the Statement of Jurisdiction set forth by the Appellant.




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                   STATEMENT OF ISSUES AND STANDARD OF REVIEW

          Appellee generally agrees with the Statement of Issues and Standard of Review

   as set forth in the Appellant’s Initial Brief.




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                             REQUEST FOR ORAL ARGUMENT

         Pursuant to Fed. R. Bank. P. 8019 and S.D. Fla. L.R. 87.4(g), Appellee believes

   that the record on appeal is clear and that oral argument will not aid the Court in

   rendering its determination of this appeal.




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                          STATEMENT OF THE CASE AND FACTS

         For ease of reference, Appellant, SAFS, Inc., will be referred to as SAFS or

   Appellant.   Appellee, George D. Davis, will be referred to as Davis or Appellee.

   References to the record on appeal will be designated as by its ECF Number in the

   Bankruptcy Court (ECF - __). References to the transcript of the hearing before Judge

   Kimball on September 1, 2021, will be designated as (T- _).

                               STATEMENT OF THE FACTS

         The Statement of Facts set forth by the Appellant are argumentative and go well

   beyond the undisputed facts. The stipulated facts relevant to this appeal are contained

   in the Joint Stipulation of Facts Regarding Defendant’s Motion for Summary Judgment

   (ECF 31) as follows:


                3.    Davis is a Florida resident and was the sole
                member of Auto House Southington, LLC, (“Auto House”)
                a Connecticut Limited Liability Company. Auto House
                operated a used car dealership in Southington, Connecticut.

                4.   Davis also served as the Managing Member of Auto
                House.

                5.     The Plaintiff, SAFS, is a Connecticut Corporation
                located in East Windsor, Connecticut that provides
                automobile financing services.

                6.     On or about September 13, 2006, SAFS, as
                Lender, entered into an Agreement with Auto House as
                Borrower, for the purposes of providing certain financial
                consulting and other services to Auto House with regard to
                the purchase of motor vehicles and/or obtaining, preparing
                for sale and holding for sale such motor vehicles. A true
                correct copy of the Fee Agreement is attached as Exhibit “A”
                to the Complaint to Determine Dischargeability of Debt.
                [ECF-1].



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              7.     By Security Agreement dated September 13,
              2006 (the “Security Agreement”), Auto House granted
              SAFS a security interest in, among other things, all used
              vehicles purchased from SAFS and financed by SAFS (the
              “Vehicle Collateral and all proceeds of the Vehicle Collateral,
              including the proceeds of insurance. A true and correct copy
              of the Security Agreement is attached as Exhibit “B” to the
              Complaint Determine Dischargeability of Debt. [ECF – 1].

              8.     Defendant Davis executed and delivered to SAFS a
              Letter of Guarantee (the “Guarantee”) dated September 13,
              2006, wherein he “unconditionally guarantee[d] to [SAFS] full
              and prompt payment at maturity, including any accelerated
              maturity, of any and all liabilities owed to [SAFS] by
              [Auto House].” A true and correct copy of the Guarantee
              is attached as Exhibit “C” to the Complaint to Determine
              Dischargeability of Debt. [ECF – 1].

              9.     In furtherance of the Fee Agreement, Security
              Agreement and Guarantee, SAFS, as lender, and Auto
              House, as borrower, entered into a series of promissory
              notes evidencing amounts loaned by SAFS to Auto House
              under the Agreement (the “Notes” and, together with the Fee
              Agreement, the Security Agreement and the Guarantee, the
              “Loan Documents”).

              10.    In addition to the amounts advanced by SAFS to Auto
              House under the Notes, SAFS from time to time extended
              additional funds to Auto House in excess amount of the
              Notes consistent with the terms and purposes of the Loan
              Document “Additional Advances”).

              11.     In order to obtain from SAFS advances under the
              Notes and/or Additional Advances, as was customary in the
              regular course of dealing between SAFS and Auto House,
              Auto House submitted Floor Plan Requests to SAFS, which
              set forth, among other things, a list of new Vehicle Collateral
              to be acquired by Auto House, the amount to be paid by
              Auto House for the new Vehicle Collateral, and the total
              amount that Auto House required from SAFS as either
              advances under the Notes or Additional Advances (the
              “Floor Plan Requests”).

              12.    In connection with each Floor Plan Request, SAFS
              required Auto House to submit copies of the following
              documents: (i) the bill of sale for Auto House’s acquisition of

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               the vehicle; (ii) the title to the vehicle; and (iii) an
               NADA Price Report (or similar document) for the vehicle.

               13.     During the course of the parties’ relationship,
               Auto House sold Vehicle Collateral without notifying SAFS
               of the sale or remitting the sales proceeds to SAFS as
               required by the Loan Documents, a practice commonly
               referred to as a “sale out of trust.” To this day, Auto House
               has not paid SAFS for certain vehicles that Auto House sold
               out of trust.

               14.    Auto House ceased doing business in 2016.

               15.   In connection with the Connecticut Action (as defined
               below), SAFS served document requests upon Davis and
               Auto House seeking, among other things, production of the
               Auto House business records.

               16.   On or about October 4, 2016, SAFS filed a lawsuit in
               the Superior Court of Connecticut against Auto House and
               Davis for breach of contract and breach of guaranty,
               respectively (the “Connecticut Action”. A true and correct
               copy of the initial Complaint is attached as Exhibit “A” to the
               Motion for Summary Judgment [ECF – 14].

               17.   In 2017 the Connecticut Action Complaint was
               amended to include additional counts against Auto House
               and Davis and added additional parties to the lawsuit. A true
               and correct copy of the Amended Complaint filed by Plaintiff
               on February 2, 2017 is attached as Exhibit “B” to the Motion
               for Summary Judgment. [ECF – 14].

               18.    Of the thirteen (13) counts in the Amended Complaint,
               only counts 2, 4, 5 & 6 were directed at Davis.

               19.    A jury trial was held in the Connecticut Action in 2018.

               20.   Following the trial, the jury returned a verdict in favor
               of SAFS and against Defendant in the Connecticut Action
               and awarded SAFS damages in the amount of
               $918,080.80.

               21.    By Order dated January 31, 2019, the Court in
               the Connecticut Action reformed the verdict by granting an
               additur in the amount of $118,713.29. With the additur, the


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                Court increased      the   award   in   favor   of   SAFS   to
                $1,036,819.49.

                22.  By Order dated April 4, 2019, the Court in the
                Connecticut Action awarded SAFS attorneys’ fees in the
                amount of $287,508.00.23.

                23.   Judgment entered in the Connecticut Action in favor
                of SAFS and against Defendant in the total amount of
                $1,324,327.49, virtually all of which remains unsatisfied.

                24.    A true and correct copy of the Jury Interrogatories and
                Verdict Form as to Defendant Davis dated December 6,
                2018 are attached as Exhibit “C” to the Motion for Summary
                Judgment. [ECF – 14].

                25.     After the jury verdict was entered, SAFS filed a
                Motion to Reform Verdict, to Set Aside Verdict, for Judgment
                Notwithstanding the Verdict and for Additur, dated January
                13, 2019. A true and correct copy of the Court’s ruling on the
                Plaintiff’s Motion to Reform Verdict, Set Aside Verdict, for
                Judgment Notwithstanding the Verdict and for Additur is
                attached as Exhibit “D” to the Motion for Summary
                Judgment. [ECF – 14].

                26.    A true and correct copy of the Court’s order ruling for
                Attorney’s Fees and Costs dated April 4, 2019 is attached as
                Exhibit “E” to the Motion for Summary Judgment. [ECF – 14].

                27.   Debtor filed a voluntary Petition under Chapter 7 of
                the Bankruptcy Code on July 21, 2020.

         Additional undisputed and unrepeated facts are as follows:

         Prior to Auto House’s closure, SAFS sent auditors to Auto House (approximately

   four months before it closed), and those auditors were given full access to all books and

   records of Auto House. They were on site for five weeks (ECF – 39, pg 7).

         After Auto House closed, many of the financial records were given to Davis's

   accountant as the IRS had scheduled an audit (ECF – 39, pg 7).




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         After the IRS completed its audit, the auditor informed Davis he was no longer

   required to maintain these records. Around the same time, SAFS requested access to

   those records, which was given. SAFS went to the accountant’s office, reviewed all of

   the documents and made copies of whatever it wanted. (ECF 39 – pg 8).

         After SAFS made its copies and reviewed the documents, the documents were

   ultimately destroyed as Davis did not believe he needed to keep them. (ECF – 39, pg

   8).

         After the trial in Connecticut, the jury specifically found that no fraud existed, and

   that Davis’ actions did not even rise to the level of recklessness. (ECF – 14-3, pg 4-6).

         On October 26, 2020, SAFS filed an adversary proceeding against Davis in the

   Bankruptcy Court. This Complaint contained seven counts seeking objection to

   dischargeability 11 U.S.C. §523(a)(2), (4) and (6), as well as objecting to discharge

   pursuant to 11 U.S.C. §727(a)(3), (4) and (5). The final count sought dismissal of the

   bankruptcy as a bad faith filing without citing to any specific provision of the law

   authorizing such a dismissal. (ECF - 1). Davis filed his Answer and Affirmative

   Defenses on November 23, 2020 (ECF - 5). Davis then filed a Motion for Summary

   Judgment on February 12, 2021. (ECF - 14).

          SAFS filed its response to the Motion for Summary Judgment after doing

   additional discovery on June 25, 2021 (ECF - 32). A corrected replacement was filed at

   (ECF - 34) on June 29, 2021. Davis filed his reply on July 16, 2021 (ECF - 39). The

   Court held a hearing on September 1, 2021. (ECF - 69 transcript). The Court entered

   an Order Granting Summary Judgment and Final Judgment on September 2, 2021.




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   (ECF - 51 and 52, respectively). A Notice of Appeal was timely filed on September 16,

   2021 and this appeal ensued.

           Appellant filed its Initial Brief on November 15, 2021. The Initial Brief only

   addresses two of the seven counts of its Complaint, specifically 11 U.S.C. §523(a)(6),

   Count three and 11 U.S.C. §727(a)(3), Count four1.

                                              INTRODUCTION

           From its inception, this case has been nothing more than a simple breach of

   contract action. Despite this fact, and knowing that the initial lawsuit was going to cause a

   subsequent bankruptcy, SAFS employed a shotgun approach to attempt to create a non-

   dischargeable debt where none existed.

           SAFS, as Plaintiff, filed its initial Complaint against Davis and Auto House of

   Southington, LLC, (“Auto House”) on October 4, 2016.                      (ECF – 14, Ex “A”).          This

   Complaint was a simple two count Complaint, seeking breach of contract against Auto

   House, and breach of contract/guarantee against Davis. On February 2, 2017, SAFS filed

   an Amended Complaint. (ECF – 14, Ex “B”). The Amended Complaint contained 13

   counts. Of these counts, only counts two, four, five and six were directed at Davis. Count

   one was a breach of contract against Auto House. Count two was for breach of guarantee

   against Davis. Count three was unjust enrichment against Auto House only. Count four

   was for fraud against Davis and others. Count five was for negligent misrepresentation

   against Auto House, Davis and others. Count six was for breach of implied duty of good

   1
    It is a deep rooted appellate doctrine that any issues or contentions that appellant does not timely raise
   or properly develop in an initial brief are deemed abandoned by the appellant . . See generally United
   States v Curtis 380 F.3d 1308, 1310 (11th Cir. 2004) (issues not raised by a [appellant] in his initial brief
   are deemed waived); United States v Ford, 270 F.3d 1346, 1347 (11th Cir. 2001); “our well established
   rule is that issues and contentions not timely raised in the briefs are deemed abandoned”; Wilkerson v
   Grinnel Corp, 270 F.3d 1314, 1322 (11th Cir. 2001) “since Wilkerson did not raise this issue until her
   supplemental reply brief, we deem it abandoned…”
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   faith against Auto House and Davis. Count seven was for conversion against Auto House

   only. Count eight was for theft against Auto House only. Count nine was for fraud and

   unfair trade practices against Auto House only. The remaining counts were fraudulent

   transfer counts against third parties.

          As previously noted, SAFS filed an initial Complaint on October 4, 2016. As stated

   in the Amended Complaint, after alleging it was owed $2,753,046.00, ten days after filing

   its initial Complaint, SAFS took the following actions:

                 28.    On October 14, 2016, SAFS exercised its rights under
                 the Uniform Commercial Code to repossess the Vehicle
                 Collateral from Auto House. In total, SAFS repossessed Sixty-
                 Six (66) motor vehicles (the "Repossessed Vehicle
                 Collateral").

                 29.    On October 18, 2016, SAFS served a Notice of
                 Disposition of Collateral (the "Notice of Disposition") upon Auto
                 House, G. Davis and other interested third parties specifying
                 the Repossessed Vehicle Collateral and providing notice that
                 the Repossessed Vehicle Collateral would be sold or
                 otherwise disposed of at a private sale sometime after October
                 28, 2016.

                 30.    Subsequent to service of the Notice of Disposition, on
                 or after October 28, 2016, SAFS sold by private sale or
                 otherwise disposed of the Repossessed Vehicle Collateral.

                 31.    After liquidation of the Repossessed Vehicle Collateral,
                 approximately Eight Hundred Sixty-Six Thousand Three
                 Hundred and Ninety Six and 00/100 Dollars ($866,396), not
                 including costs and attorneys' fees, remains due, owing and
                 unpaid by Auto House to SAFS.

   (ECF – 14, Ex “B”, paragraphs 28 through 31).

          Therefore, ten days after filing the initial Complaint, SAFS repossessed all of the

   assets owned by Auto House, thereby forcing Auto House to go out of business.

   Realizing that it had put Auto House out of business, and that it would have no other way


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   to thereafter earn funds, SAFS expanded the scope of its case to attempt to make it

   bankruptcy proof.

          In fact, ruling upon SAFS’ Motion for Attorney’s Fees and Costs, on page four, the

   State Court noted:

                 Attorney Cohen, who handled this action for SAFS, explained
                 to the jury in his closing argument that SAFS was pursuing
                 fraud damages because they were not dischargeable in
                 bankrupcty.¹ While this argument was clearly improper when
                 addressed to the jury, it did accurately describe the plaintiffs
                 strategy in litigating this case. The plaintiff had a guarantee
                 from George Davis that he would pay for all debts incurred by
                 Auto House. The amounts loaned by SAFS to Auto House,
                 and the reduction of those amounts by proceeds of SAFS' sale
                 of repossessed vehicles were not contested by the
                 defendants.

   (ECF – 14, Ex “E”, pg 4).

          In fact, the Bankruptcy Court noted in its oral ruling (ECF – 69, T - 33 to 34):

                 Before I move on to the count seeking denial of discharge I'd
                 like to comment on the plaintiff's strategy in the Connecticut
                 litigation as it relates to this case. When the plaintiff filed its
                 initial complaint in Connecticut it sought judgment against the
                 defendant based solely on his guarantee. If the plaintiff had
                 obtained only that judgment the plaintiff could still have sought
                 relief under Sections 523(a)(2), (a)(4) and (a)(6) to the extent
                 applicable if the defendant later filed a bankruptcy petition...

                 Of course if one has a State Court judgment based in fraud,
                 for example, this may greatly facilitate a dischargeability action
                 in a later bankruptcy by the defendant. It appears this was the
                 plaintiff's thinking in the State Court action.

                 The plaintiff amended its Connecticut complaint to add fraud
                 and punitive damages claims against the defendant,
                 apparently in hopes that the outcome would prove useful if the
                 defendant filed bankruptcy. That was my impression of the
                 plaintiff's strategy even before I read the Connecticut Court's
                 April 4, 2019 order, which recounts that the plaintiff's own
                 counsel actually told the jury this was their strategy.


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                 The problem is that the plaintiff was not successful on the
                 fraud and punitive damages claims in the Connecticut action.
                 In spite of that the plaintiff wants to try again here, but the
                 plaintiff's strategy has backfired. Once you lose on such
                 claims you don't get to try again in Bankruptcy Court.

          The Bankruptcy Court correctly stated the law; once you try a case and lose, you

   may not re-litigate those facts. That is what collateral estoppel is all about.




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                               SUMMARY OF THE ARGUMENT

          The Bankruptcy Court correctly granted Summary Judgment as to Count four

   seeking to deny discharge pursuant to 11 U.S.C. §727(a)(3) for failure to maintain books

   and records. The unrefuted evidence shows that SAFS was given full access to these

   documents prior to Davis’ former business closing. In fact, SAFS had auditors reviewing

   the documents for over five weeks. The business did then close down and records were

   transferred to an accountant. SAFS was given access to the records again with the

   accountant.    Thereafter, the IRS held an audit and after the IRS audit was completed,

   Davis no longer needed to maintain the records from this closed business. The business

   was closed for four years prior to the bankruptcy proceeding. SAFS claims it needs the

   records to determine the true extent of its damages. This is directly contrary to the specific

   allegations raised in its Amended Complaint in Connecticut, where SAFS listed specific

   values and amounts that it had loaned as a lender and how much it had received. Nothing

   in these records is germane to this case. This case is a simple breach of contract case.

   Unfortunately for SAFS, breach of contract is dischargeable in bankruptcy.             SAFS

   therefore is throwing as much mud as possible in an effort to circumvent the clear intent of

   the Bankruptcy Code. The Bankruptcy Court saw through SAFS’ attempts and correctly

   granted Summary Judgment.

          The Bankruptcy Court was further correct in granting Summary Judgment as to

   Count three pursuant to 11 U.S.C. §523(a)(6). Once again, in an attempt to circumvent

   the Bankruptcy Code, SAFS has alleged that, in essence, anytime a contract is breached,

   it is a willful and malicious act and therefore, the debt should be non-dischargeable. This

   is contrary to the Bankruptcy Law. Case law is clear that in the 11th Circuit, there must be


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   an intent to injure and some element of malice. Willfully performing an act that ultimately

   results in injury is different than a willful injury. It is also clear that, under 11th Circuit law,

   mere recklessness is insufficient to meet the standard. The jury in the Connecticut case

   specifically found that the actions of Davis did not even rise to the level of recklessness,

   much less willful and malicious. In light of the above, the Bankruptcy Court correctly ruled

   in favor Davis.




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                                            ARGUMENT

   I. The Bankruptcy Court correctly granted Summary Judgment as to count four of
   SAFS’ Adversary Complaint pursuant to 11 U.S.C. §727(a)(3).

          11 U.S.C. §727(a)(3) states that a court should deny the debtor a discharge when

   “The debtor has concealed, destroyed, mutilated, falsified or failed to keep or preserve any

   recorded information, including books, documents, records, and papers come from which

   the debtor’s financial condition or business transactions might be ascertained, unless such

   act or failure to act was justified under all the circumstances of the case”.

          Through argument to the Bankruptcy Court and throughout its Initial Brief, SAFS

   argues that during the litigation, it did not have access to Davis’ records, and further states

                  Moreover, Davis did not argue that either he or Auto House
                  ever produced any of Auto House’s business records to SAFS,
                  either during the pendency or after the conclusion of the
                  Connecticut Action… He also failed to present any evidence
                  suggesting that the destruction of those records was justified.

    Appellant's Initial Brief, pages 21 and 22.

           SAFS also presented an affidavit stating that “Neither Davis nor Auto House

   produced a single document in the Connecticut Action.” Appellant’s Initial Brief, page 22;

   Affidavit of Garrison Hodgkins. (ECF 34, Ex “2”).

          In the limited context presented, those statements could be looked at as true.

   However, we do not live in a vacuum. SAFS ignores the fact that it has never refuted

   either to the Bankruptcy Court or in its Initial Brief, the Supplemental Affidavit of George D.

   Davis. (ECF – 39, pg 7-8), which states:

                  2.    The Plaintiff has alleged that I failed to maintain books
                  and records because I no longer have records from
                  AUTOHAUS. This business closed four (4) years ago. Before
                  we closed, the Plaintiff sent auditors into our business
                  (approximately four (4) months before we closed) and they

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                    were given full access to all books and records. They were
                    there for five (5) weeks.

                    3.      After we closed, many of the financial records were
                    given to my accountant, as the IRS had scheduled us for an
                    audit.

                    4.     After the IRS completed their audit, the auditor
                    informed me that I was no longer required to maintain these
                    records. Around the same time, the Plaintiff (“SAFS”)
                    requested access to these records, which they were given.
                    They went to my accountant’s office, reviewed all of the
                    documents and made copies of whatever they wanted.

                    5.     After all of this happened, the records were then
                    ultimately destroyed as I did not believe I needed to keep
                    them.


           The undisputed evidence therefore is that prior to the lawsuit being filed by

   approximately four months, the accountants for SAFS were given full access to the books

   and records for a period of five weeks. This is further supported by the Affidavit of SAFS

   principal, Garrison Hodgkins, wherein Mr. Hodgkins admits at paragraph 11 that SAFS’

   audited the records of Auto House. (ECF – 34, Ex “2”).

           Further, after the business closed, additional records were provided through the

   accountant. It was only after all of these records were reviewed by SAFS, and after the

   IRS completed an audit that Davis was told he no longer needed to keep these records.

   Thus, there was clear evidence that the business records were provided in a timely

   fashion, and in fact, the evidence that the destruction of the records was justified was

   unrefuted.       Despite being unable to refute these facts, SAFS continues to argue in its

   Initial Brief:

                    Finally, SAFS established that, because the destroyed Auto
                    House business records are essential to understanding the
                    extent of Davis’s schemes and how those schemes enriched

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                  Davis personally and harmed SAFS, there is no question the
                  business records would shed light on Davis’s financial
                  condition—especially in light of his personal guarantee of Auto
                  House’s obligations.

   Appellant's Initial Brief, pages 23.

          This argument makes absolutely no sense. SAFS is a lender. It loaned a certain

   amount of money to Auto House. SAFS knows exactly how much it loaned and how much

   it got back. There is no question as to how SAFS was harmed as the exact dollar amount

   was known. As set forth in its Amended Complaint, SAFS specifically alleged as of

   October 28, 2016 that it was owed $2,753,046.00 (ECF – 14, Ex “B”).

          After liquidating the collateral, SAFS alleged it was still owed $866,396.00 (ECF –

   14, Ex “B”). It therefore appears clear that SAFS knows exactly, to the dollar, the amount

   they were harmed by this breach of contract. Any argument to the contrary is simply more

   attempts to circumvent the Bankruptcy Law.

          SAFS further seems to misapply case law in the 11th Circuit. SAFS cited the case

   of In re Lorenzo, 606 F. App’x 548 (11th Cir. 2015), arguing that under nearly identical

   circumstances to the case at bar, the 11th Circuit found 11 U.S.C. §727(a)(3) to apply to

   the debtors destruction of business records.

          A reading of Lorenzo shows that that is simply not accurate. In Lorenzo, the debtor

   destroyed a computer server that held financial records of the company, “mysteriously lost

   several other computers containing other records, and indiscriminately shredded most of

   the closely held company’s paper records. For the record, she destroyed and lost detailed

   air carrier’s finances, including payments Lorenzo made while using air carrier’s money to

   cover her personal expenses. But those missing and destroyed records would have shed

   light on her financial condition”. See Appellant's Initial Brief, page 24, citing Lorenzo at

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   552. A reading of the entirety of the case though, shows that is completely inapplicable to

   the instant case.

            In Lorenzo, it appears that records were sought and were destroyed during the

   litigation. Three months after the litigation concluded, the debtor filed bankruptcy, having

   no records to show her finances personally, and no records of the corporation, which

   finances were clearly intertwined, by the reading of this case.

            In the instant case, Auto House closed four years earlier. Records were provided

   before its closing. Records were provided after its closing. Auto House went through an

   IRS audit, and it was only after that audit, nearly four years prior to the filing of the

   bankruptcy, that the records were destroyed.

            Davis’ finances over the last four years were not intertwined with the company, the

   company did not exist. Davis’ bank records and tax returns were provided going back

   years.

            On page 27 of its brief, SAFS continues to argue that it needs the Auto House

   documents because “without a complete set of records, SAFS is unable to decipher the

   full extent of Auto House’s scheme, the amount of money stolen, or where the stolen

   money ended up”. Once again, if this was a true statement, how was SAFS able to allege

   that the specific amount of in $2,753,046.00 was the amount that was unpaid. How was it

   able to allege that after offsetting the collateral, it was still owed $866,396.00. Very clearly,

   SAFS knows exactly how much was not paid back.              Also, as the lender, SAFS knows

   exactly how much it loaned. Any argument to the contrary is simply not accurate.

            It was also argued before the Bankruptcy Court (T – 17-18), that the banking

   records were always available. Those records were not destroyed, and to the extent they


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   were not readily available, could have been subpoenaed from the bank. Likewise, Davis's

   bank records were provided, as were tax returns. How much money Davis received was

   clearly something that could have been determined by looking at the records, something

   SAFS chose not to do.

          As it is undisputed, SAFS had access to the bank records before the business

   closed, as well as some documents after it was closed and that the records existed up

   through the time of an IRS audit, that banking records are still available and have been

   provided, and that there has been no argument to the contrary other than at some later

   date the previously provided records were not available.       It is clear that the argument

   under §727(a)(3) must fail and the Bankruptcy Court correctly ruled that Summary

   Judgment should be granted in favor of Davis. This is especially true in light of the fact

   that Auto House had been closed for almost four years before the bankruptcy was filed,

   and that there was simply no evidence that the records of Auto House from four years

   earlier would show that Davis’ financial condition as of the time of filing or anytime in the

   immediate past for such filing; that in fact that the records had been produced to SAFS,

   had been produced to the IRS and had been shown for an audit which was completed,

   there was simply no reason to keep said records. Under 11 U.S.C. §727(a)(3) the failure

   to maintain these records was clearly justified under the circumstances as the Bankruptcy

   Court found and Summary Judgment was properly granted

   II. The Bankruptcy Court correctly granted summary judgment based upon
   collateral estoppel as to count three of SAFS’ complaint based on 11 U.S.C.
   §523(a)(6).




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          Once again, it cannot be overemphasized that this is a simple breach of contract

   case. SAFS is seeking to argue to this Court that any time someone breaches a contract,

   it is per se, a willful and malicious injury. This is simply not the law.

          SAFS opens it argument on page 14 of its Initial Brief on this issue by implying,

   without stating, that the law in Connecticut as to collateral estoppel is different from that of

   Florida. See Appellant's Initial Brief, pages 14 and 15. This is directly contrary to the

   position taken by SAFS in front of the Bankruptcy Court. At page 10 of the transcript (ECF

   - 69), the Bankruptcy Court asked counsel for SAFS:

                  Is there any reason to believe that the Connecticut collateral
                  estoppel rule is different from the Florida one? I think the
                  answer is no, but I'd just like to know your –

                  MR. COHEN: I think the answer is I -- yeah, I would not say --
                  I would not say they -- to the extent they are different, if at all, it
                  wouldn't be material I wouldn't think in this instance,
                  Your Honor… And I wouldn't argue that.

   (T – 10, ln 3-12).

          SAFS next argues that the Bankruptcy Court erred because cases such as Ford

   Motor Credit Co. v. Owens, 807 F.2d 1556 (11th Cir. 1987) and In re Monson, 661 F.

   App’x 675 (11th Cir. 2016) stand for the proposition that “[I]n this Circuit, a sale out of trust

   constitutes a per se “willful and malicious” injury sufficient to establish a claim under

   §523(a)(6).” See Appellant’s Initial Brief, page 16.             This is a complete and utter

   misstatement of the law.       For example, in Monson, supra, the debtor had a business

   partner whom he met in prison. After they were released, they entered into an agreement

   to run a business. The debtor’s partner loaned $130,000.00 to the business subject to a

   security agreement.




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             Once the business relationship fell apart, the debtor purposely took the assets and

   transferred them to another business, after being specifically requested that they be

   liquidated to pay the secured debt as required under the party's agreement. The actions

   were purposeful and willful and the Court, made a finding that there was an act of fraud on

   the part of the debtor. In Monson, the 11th Circuit did not hold there was a per se willful

   and malicious injury under §523(a)(6) when assets are sold out of trust. In Monson, the

   Court cited to several of its other cases, including Kane v. Stewart Tilghman Fox &

   Bianchi PA (In re Kane), 755 F.3d 1285 (11th Cir. 2014); In re Jennings, 670 F.3d 1329,

   1332 (11th Cir. 2012) and Kawaauhau v. Geiger, 523 U.S. 57, 61-62 (1998) for the

   proposition that a debtor commits a “willful” injury when he or she commits an intentional

   act, the purpose of which is to cause injury or which is substantially certain to cause injury,

   and that §523(a)(6) requires the actor to intend the injury, not just the act that leads to the

   injury.    Supra at 1293. The Monson Court further stated “we have determined that

   ‘malicious’ means wrongful and without just cause or excessive even in the absence of

   personal hatred, spite or ill will”. The Court did state that constructive or implied malice

   can be found if the nature of the act itself implies a sufficient degree of malice. In re Ikner,

   883 F.2d 986, 991 (11th Cir. 1989). Nowhere in any of these cases is a sale out of trust,

   a per se, non-dischargeable act. In fact, sales out of trust are typically found to be

   dischargeable under 11 U.S.C. §523(a)(4).           SAFS did assert an argument under

   §523(a)(4), but abandoned it in this appeal.

             In Ford Motor Credit Co. v. Owens, supra, the facts did involve the sale of assets

   out of trust and a floor plan agreement. In this particular case, the debtor sold vehicles out

   of trust and purposefully transferred those assets to a new business. A trial was held and


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   it was determined that his actions were willful and malicious because of all of his actions in

   this case. There is one major distinguishing factor however, between Ford Motor Credit

   Co. v. Owens and the instant case. In the instant case, a jury trial was held, where it was

   found that the actions were not willful and malicious.

   The standard to determine willful and malicious injury is clear.

          In Kane, the 11th Circuit specifically states:

                 A debtor is responsible for a 'willful' injury when he or she
                 commits an intentional act the purpose of which is to cause
                 injury or which is substantially certain to cause injury." In re
                 Jennings, 670 F.3d 1329, 1334 (11th Cir. 2012) (quoting In re
                 Walker, 48 F.3d 1161, 1165 (11th Cir. 1995))… see
                 Kawaauhau v. Geiger, 523 U.S. 57, 61-62 holding that
                 §523(a)(6) requires the actor to intend the injury, not just the
                 act that leads to the injury).

          The Walker Court further stated “We have interpreted "willful" to require "a showing

   of an intentional or deliberate act, which is not done merely in reckless disregard of the

   rights of another” (citations omitted) [emphasis added]. Walker then stated:

                 We follow our sister courts in concluding that, in order to be
                 "willful" under section 523(a)(6), the debtor must have
                 intended more than merely the act that results in injury.
                 Congress has been very clear in expressing its intention in
                 section 523(a)(6). The plain language of section 523(a)(6)
                 excepts from discharge debts arising from "willful and
                 malicious injury" rather than "willful and malicious acts which
                 cause an injury."… "Willful' modifies "injury.' Section 523(a)(6)
                 does not except from discharge intentional acts which cause
                 injury; it requires instead an intentional or deliberate injury.

   Walker supra at 1164.

          In Kane vs. Stewart Time and Fox & Bianchi, P.A., 485 B.R. 460 (S.D. Fla. 2013),

   the Court further pointed to the fact that the 11th Circuit has held “recklessly or negligently

   inflicted injuries are not accepted from discharge under §523(a)(6). Kane, supra at 468.


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   The law is clear. The actions must be with the intent to cause injury, not just to commit an

   action which ultimately causes an injury.      This is fatal to SAFS’ case.     SAFS’ sole

   allegations are that there was a breach of trust, which the debtor failed to remit proceeds

   through his business. This is a simple breach of contract. The act of not remitting

   proceeds was not done with a specific intent to injure SAFS. These parties had been in

   business for over 10 years before the Auto House business failed. Under the 11th Circuit

   case law, SAFS failed to present any allegations or present any evidence to the

   Bankruptcy Court, which would show that there was an intent to willfully and maliciously

   injure their property and as such, the Court correctly granted Summary Judgment.

          The jury instructions here are also particularly instructive. In the State Court case,

   the jury interrogatory and verdict form asked specifically on page five “Do you find that the

   conduct of Defendant Davis was outrageous, either because he acted with reckless

   indifference toward the Plaintiff’s rights or engaged in conduct that constitutes an

   intentional and wanton violation of those rights?” The jury answered “no”. The jury

   therefore found that the actions of Davis in this case did not rise to the level of mere

   recklessness. As set forth above, the 11th Circuit has clearly stated that even if the

   actions were reckless, that is not sufficient, it must be more. The Court therefore correctly

   applied the collateral estoppel standards in this case.

          SAFS tries to argue that somehow the actions are not the same, in an effort to

   avoid the clear result of the application on the law. SAFS performs all types of legal

   gymnastics, beginning on pages 18 through 20 of its Initial Brief. In essence, SAFS

   argues that Auto House clearly caused willful or malicious injury to SAFS by converting its

   property and that willful and malicious injury could be imputed to Davis, by his alleged


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   participation in selling the vehicles out of trust. SAFS then argues the Connecticut action it

   did not proceed against Auto House, only against Davis.           As such, the jury in the

   Connecticut action did not consider whether Auto House caused a willful and malicious

   injury, such that the Court cannot support the application of collateral estoppel to preclude

   SAFS’ §523 claim premised upon the imputation of Auto House’s conduct to Davis under

   the controlling 11th Circuit authorities.

          This Court does not have to deal with any imputation of Auto House’s actions. The

   jury was specifically asked about Davis's actions. Davis, who, as alleged by SAFS, was

   the sole owner and managing member of Auto House. The jury was specifically asked if

   his actions were willful and wanton and/or done with reckless indifference. The jury stated

   “no”. There was no need to try to impute the actions of the business, which SAFS alleges

   was controlled exclusively by Davis to Davis, and SAFS’ argument must fail.

                                           CONCLUSION

          In light of the foregoing, based upon the above arguments presented and the

   undisputed facts, the Appellee hereby requests this Court enter an Order affirming the

   decision of the Bankruptcy Court.

                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing was served electronically

   where available or by regular mail to all those enumerated herein below this 12th day of

   January, 2022.




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